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United States District Court
District of Massachusetts

 

United States of America,
Plaintiff,

Criminal Action No.
19-10080-NMG

Vv.
Douglas Hodge,

Defendant.

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ORDER
GORTON, J.

Having considered the relevant pleadings, the Court
determines that there exist extraordinary circumstances which
warrant immediate adjudication of Defendant Douglas Hodge’s
habeas petition filed pursuant to 28 U.S.C § 2255 despite the

pendency of his direct criminal appeal.

So ordered.

V ldheak 1 Sealer,

Nathaniel M. Gort:

United States rhananal Judge
Dated May /2, 2020
